Case 6:24-cv-00649-JA-DCI Document 1-1 Filed 04/04/24 Page 1 of 7 PageID 10




                 COMPOSITE
                  EXHIBIT 1
                   Case 6:24-cv-00649-JA-DCI Document 1-1 Filed 04/04/24 Page 2 of 7 PageID 11
                                                                                                                                                                               FORM E FOREIGN
                       page l                                                                                                                                        CLASS                  REGISTRATION NO.

                       . , ucatton for Registration of a <tlaim to <top~right                                                                                                          Efo140219
                       g,pp .1 1composition the author of which is not a citizen or domiciliary of the United E                                                                          DO NOT                  E HERE
                       In amus coat America and which was not first published In the United States of America                                                                              EF            EF          EU
                            states
                                       . ,Make sure that all applicable spaces have been                                         together with the items specified in either Option A or B:
                       111,tru~f~~n~fore yoa submit the form. The npplicatio~ m:1m                                                  □ Oplio11 A: One ~opy of tbe musical composition and a
                       aomrle~ED at line 9. For P.ubUsbed we.ck~ the ;tppl!cn~oo                                                 fce~of   $6 - Make remittan.ce payable to the Register of Copy-
                        be SIG . be submitted unril after the date of publicauon                                                 i:lghts.
                       s1Jo\)c1d. 0 f~e 4(a), nod s,bould sr~te the facts which existed on                                               OptimJ B: Two copies· of the musical composition and a
                       ,r~eo 10 1 for further .rnfonnat1on, see page 4,                                                          catalog card. This option is not available for unpublished
                       thiJ~ dnc\ and 2 should be typewritten or pdntcd with pen                                                 works or if the author or proprietor is a U.S. citizen, domi-
                          Pll/I¢1t pages 3 and 4 should conta.i n exactly che same in-                                           ciliary, or re~ident on the date application is filed. Option B
                       and 1P. • ~ pages 1 and 2, bu·t may be carbon <!opies.                                                    is available only if the copies, a properly completed applica-
                       fol'JIUl;~10 ~1 pases of the application to the Register of Copy-                                         tion, and catalog card are received in the Copyright Office
                           Will 1\J'nry of Congress, Wasbingmn, -o.C. 20540, U.S.A.,                                             within 6 months of the date of first publication.
                        ri11hu   '
                                rl ht Claimanth) and Addresdes): Give the name(s) and address(es) of the copyright owner(s). In the case of




l
                        I, C~PhYd'works the name(s) should ordinarily be the same as in the notice of copyright on the copies of the work deposited.
                        pub1,s e
                                       CIRRUS MUSIC

                                       131 Hazelton Ave., Toronto 5, Ont., Canada
                        Address..........................                                                                                                                                                            •••••• • •


                        N1m• ······ ·· ·· ·· ·· -·· ···-··········-·· -··· ···-· · - · · · ···        ·-· · •      •       •          •        •    •        -· ·-· ·-··· ·-· . ····-·-·-·-·-············--··


orks subject to        'Address ........ ··•·••••••••••••••••• • •• • • • .. . • • •• ......... . ·••····-·· •• • ••• •• • •• •• ••• • ••• • ••• ·-·· • ••• ••••• • •• • ••••••• ··-···-· -···- · - · · -···········-·· ··-·· -·· ·

1ed outside the        "                    AMERICAN WOMAN
                       2, Title: ••••• •••• •••• ••••••••• •• •• ··-                (Give the title of the musical composition as it appears on the copies)                                                     •



                       3 Authors: Citizen$hip und domicile infor.roadon must be                                                  words, arrangers, compilers, etc. If the copyright claim ·is
                       g1ven. Where a work was made for hire the employer is the                                                 based on new matter (see line 5), give information about the
1erica or which

rnited States of
                       ::•: . :: .~~:;:.::-:?!.~::•;:. •::•:                                                           01

                                                 (Glve legal nnme follow:t:C psQudonyn1 If lacter nppears on the copies)
                                                                                                                               ... •• •~••.•'.•: :.~•«~·                  c;,_,.,,;, .Caaadian ..............
                                                                                                                                                                                                  (Name of country)




                       Domiciled -in U ..S.A.         Yo5Jr_ No~--           C?/.'?.. J~~-.§.~<?.~~.~ .. ~~:';~.~.~--········· Am.hor o ... ~~;:9~[~\=1.~.~.S:- ..·-··
                                                                                 Address .......
                                                        -;1 / ii                      Wftpeg 4, Canada (Stale whi ch: words, music, ILF<~\)g<>meot, c(c.}
                       Name ······Jim.. Ka!e ...... and ... Garry . Peterson ..... ················-·······--··········· Citi.zooshlp .both Canadian ....
                                         (Give lega'I mm10 followed by pseudortym if hut r nppcnrs on the copies)                              {Name ol couou.y)

                       Domiciled in U.S.A.            Yes----      No   x __ Address ...... s;/9...l..~.9.. ..~i:;:Q.t.i.9' ..S.t~g~t_ ......_ , Author of ... W9.,P;J.almu~i.c....... .
                                                                                                   Winnipe 4 Canada (State which: words, music, arrangement, etc.)
                                           ~                (NOTE: Leave all 1pac:es of line 4 blank unliu yl.ur work has been PUBLISHED.)                                                         ..,_
                       '1, _\ol Date of Publication: Give the c.o mplete date when                                               date when copies were made or printed should not be con-
                       00B1es of this particular version of the musical composition                                              fused with the date of pubHcuti.on. (NOTE: The full date
                       Were .first placed on rnle, sold, or publicly dim:ibuted. The                                             (month, day, and year) must be given.)
                       ••••············· ......................... __ .......... ... .Noverober ........ l 0 .............19 6 !:I .. _................... .......- ... ....... ................ .
                                                                                                (Month)                    (Day)              (Year)
                       6.rst(b)published.
                                 Place of Publication: Give the name of the country in which this particular version of the musical composition was
                                                                                         '
                       •••••• ••• ··· ·····•· --·. ----· - ............... ---.... Canada........................ ·--------···•···-·-.. _ .- ......................... -·...... _........
                       5            ~ (NOTE: Leave all spa1:e1 of llne 15 blank unlen the lnstr11ctlon1 below apply to your worlc.> . , _
                       tlg:,•~lou5 Registration or Publlt:atlon : If .a claim 10. copy- or .if any substantial part of cl1e work WD.li previously published
                       r,'egisc 10 a~y substanda l part of th.is work wa~ previously anywhere, give requested information.
                               tcrcd 1n the U.S. Cop.yright Ofilce in unpttblisbcd form,
                       \'<'a·, Work provwusly,
                                        • · rcg,scc,ed?
                                                •        r           ~                •
                                                        ) es __ No __ __ Dore or rog1~trncion - - - - - - - - , - - -
                                                                                                                         •    ·
                                                                                                                      Regmrntlllll number ------------------·
                       ~                          '     '                                                              •

                       I a, "'urk Previously publ1sbed1 Yes ____ No _ _ Oa\e qf public;uion ----·----------- llcgj,ararion number _                                                                                          ---
                       1:a::ere any    substan,cial NEW MAffER in this version? Yes,-··· ·-· No ...... If ,your answer is "Yes/' give (I b~ief general
                       ,edi!om,c~t o.f the nature of' tbe NEW MAffER in (his version. (New matter may consisr of f'IIUSical a.rrangemenr, compilation,
                             ria revisio n, and the like, as well Rll additional words Md music.)                                         p •~f\:1-(N EiR '

        Page 2
                        ..........
                                      ••                             Complete all applicable spaces on next page
                                                                                                                                                                                                                    r'       I
 Case 6:24-cv-00649-JA-DCI Document 1-1 Filed 04/04/24 Page 3 of 7 PageID 12

                                    \
6. If re9i1tratlon fee -.is to be charred to a deposit account established In the Copyrlsht Oflice, give name of ac:co
                                                                                                                                                llllf:

i.- N_;me -and address, of person or or9anl:11atlon to whom correspondence or-refund, if any, should be sent:                        ------   ----.

Name ___         Cirrus _Music_____________________________________________ Address J.~l..J!~~~JJ:_Q.1,'.L~Y~.'!.t._ .°!'.9.~ Qilt9. __~-'---~~g_~
8, Send certificate to:

(Type or
print     llilame
                                         NIMBUS 9 PRODUCTIONS LIMITED
name and
                                    131 Hazelton Ave.
address) Address                -------                       ,--- --~--
                                                      .......(Number and sfrce1)
                                                                                 --- - -
                                         Toronto s, Ont., Calilada
                                                     (City)                   (State)               (ZIP code)     •


9. Certification:
                                           I CERTIFY that the statements made by llie in this application are correct to the
(Application                                         best of my knowledge,
not acceptable
unless signed)


                                                                       Application Forms
Copies of the following forms will be supplied by the Copyl'ight Office without charge upon request.



                  f
Class A Focm A-l'uhlished book manu1acrured in the United States of America.
           orm A- B Foreign-Book or periodkal lllllmtlndured outside the United States of Amerka (except works subjecc r<;i ,
Class A       the ad incerim provisions of the copyright law).
  or B Form A-B Ad Interim- Boo.k or periodical in the l!nglish language manufactw;ed and first published outside the
              United Scntes of An1erica.
           orm B--Periodical mnnufocru.red i n the United States of America.
        {
Class B Form BB-Conr, ibution, co a periodical manufactured .in the Uaired States of America,
Class C Form C--Lecture o.r similar production prepared for ocal delivery.
Class D Form D- Dramatic or dramacico-musica.1 composition .
          Form E--Musical composition the auchoi: of w. hic:h is a citizen or domiciliary of the U ojted States o. f America or which
        (     was first published in che United States of America.
Class E Form E Foreign- Musical composition the autho.r of which is not a citizen or dom.iciliar'y of the United States ol
              America and which was not first published 1n the United States of Amc.rJca.
Class F Form F-Mnp.
Class G Form G-Wo,rk of art or a model or dcslgo for a wor~ of art.
Class H Form. H-Repr.oduction of a work of art.
Class I Forln I- Drawing or plastic work of a scientific or ~echnical character.




 or M     Form
                 !
Class J Form ] - Photograph.
          Form K - Pdnt or pictorial illustration.
Class K Fm:m KK- Priot or lllbel used £or an article of merchandise,
Class L         L-M M ,
                     -
                                   .
                         otioi:;i picture.
                   Form R-.Renewnl copyright.
                   Focm U-Notke of use of copyrighted mtJsic on mechanical iost'rumeots.

                                                                    FOR COPYRIGHT OFFICE USE ONLY
  Application received
   :_··1·:· ·B
   '    ~
                   l j i 97 L
                 . ,
  0 ne copy received



  Two:~~~es.fec.e1
      • - . J j .
                            151 '/ l;
                                                                                                                                                      '
  Catalog card received
     - · ·1 j ' .I
       :-to. t ,I i 'j '( (.
  Fee received




~ ; ewal';              90 _ &CB                                                                                                              - ,,
                 U.S. GOVERNMENT PRINTING OFFICE, 1961-0-322-<>65
                                                                                                                                          Page 2
                  Case 6:24-cv-00649-JA-DCI Document 1-1 Filed 04/04/24 Page 4 of 7 PageID 13
                                                                                                                           -
,f account:
                      page 1
                                                                                                                                                                                      FORM E FOREIGN
                                                                                                                                                                            CLASS                   REGI S TRATION NO.

                      $l plication for Registration of e ~leim to ltDpHright
, Canada
                      · pmusical composition the author of which is not a citizen or domiciliary of the United                                                             E                     E•·fo l '1 :,-.· :-: i1 u
                                                                                                                                                                                                 DO NOT
                                                                                                                                                                                                                    t.J \.) ,i)
                                                                                                                                                                                                                             HERE
                                                                                                                                                                                                                                   _1.. , )



                      In astates of America and which was not first published in the United States of America                                                                                      EF                             EU


                              ctions: Make sw:e that all applicable spac~ hl!-ve been                                              together with the items specified in either Option A or B:
                      ln st ru red before you submit tbe form . T he apphcauon must                                                    □ OpiJon A: One copy of the musical composition and a
                      comfi~NED at line 9. For !l)Ublished works ·the applkulion                                                   fee of $6. Make remittance payable to the Register of Copy.
                      be Jd not be submitted until afret the date of publicadt>n                                                   clgbts.
                      sl~oi in line 4 (a), and should state the faces which CJJsred on                                                 D Option B: Two copies of the musical composition and a
                      givendate Fo.r further infocmation, see page 4.                                                              catalog card. 'J:his optio,1 is not alJdik,ble f<>r mip11blished
                             i
                      th ; es and 2 should be typewritten o.r printed wltb p en                                                    'IVOrks or if the ,,mthor or proprietor is ,, U.S. citizen, domi•

                      f" /tk      Pages 3 and 4 should contaia exactly the same in•
                            acl~n as pages 1 and 2, bur may be carbon copies.
                                                                                                                                   cilim·;1•, nr resident on the date application is filed. Option B
                                                                                                                                   is available only if the copies, a properly completed applica•
                       o~ail all pages o~ the applicati~n to rbe Register of Copy•                                                 rion, and caralog card are received in the Copyright Office
                       • hes Lib rary of C,)ngress, Washrngton, D.C. 20 40 U.S.A.,                                                 within 6 months of the date of first publication.
                      ng '
                          Co right Claimantls l and Address (es): Give the name(s) and address(es) of the copyright owner(s). In the case of
                      ~"iibli!:ed works the name(s) should ordinarily be the same as in the notice of copyright on the copies of the work deposited.

                                         Cirrus Music                           *
                      Name ·-·········-·········-···· ······· ·· ···················· ···· ·· ·· ····· ·······-···········-··-···- ················-··-··-·····-······-·····-·········-
                                         131 Hazelton Ave., Toronto 5, Ont., Canada
                      Address ··· ·· ···· -·· ··· ·· · · ···· · ·· · · ·· ·-· ······· · ·· · ······ ·· - · -· ···· ··· - - · · · · ·· ········· · · · · ··· ·· - ···· ········ ······ · ············· · ·· ·· ······ ···· ··· ··· · · ·· · ··


                      Name ····-················-········ ·····-·-········· ··· ····· ········-······· ······-·········- ·· - ··-··-· ····-··-·· -·. ••••••••••••••••••••••••••••• •••••
rks subject to

d outside the
                      Address .•••••••• •• •• •·· ··········· ·· • · ··- •··· · ··· ·-··· · •• • •••• • • · - ·- ·· - ·· · ·········· • • ••• • •• • • · - · - · · - · - · ·- · · - · -· ······ · ••• ••• •• • · · · ············ -·· •• •


                      2• Title: ... .'JJI~~~.. EYES·· •········································································~···-······- ···· ···-········ ··················
                                                                                                                                                                                                                                                I
                                                                   (Give the title of the musical composition as it appears on the copies)



                      3. Authors : Citi:teniihip and domi cile infoanation must be                                                 words, arrangers, compilers, etc. If the copyright claim is
                      giyea. Where a work was made for hire, tbe employer is the                                                   based on new matter (see line 5), give information about the
erica or which        author. Authors include composers of music, authors of                                                       author of the new matter.

1ited States of       N2mc .. ..     Rsm.dY. .. C..... Bad:unan ....-/t:.. ··-············-·······••···············•··················· Citizenship .. Canadian ............. .
                                                  (Give legaJ nnme followed by pSeudonym if hm~r :ippears on the copies)                                                                                   (Name of country)

                      Domiciled in U.S.A.            Yes....         No -~-         Address .. J~~ ...-?.<;:.<?..°!:J:~.)?tr;~-~.t................ . .....                        Author of ..... ½79.~9'~/r:t}~~;i,..<;:..... .


                      Name .... ~~.~.~.()~ ..         ~~~.9.~
                                                           ..... ·4: ........             ..        ~.i.~.~~~~~ ~.~
                                                                                               ...~~~~~··········· · ··:S:~:~ ::::n:~:d~~;;;;.;;;~~~~::.~:~: : .
                                          (Give lega l name foll!];d by pseudonym if latter appears on the copies)                        (Name of country)

                      Domiciled in U.S.A.            Yes____         No-~-          Address .. 5 / ~...        ~?~...~~~~~~...~.~~·········•····•······ Author of ...... ~?E?.~(1_1!~~~.<:=..... .
                                                                                                               Winnipeg 4, Canada (State which: words, music, auangement, etc.)
                      Name ··-··-· - ···· · ············· · · ·· ··· · ···················· ·•· ············ · ··························· ····· · ····· ·· ·                    Citizenship - ·· ··· · -···· · ··· · ···· ·- · ·-·
                                              (Give legal name followed by pseudonym if latter appears on the copies)                                                                              (Name of country)

                      Domiciled in U.S.A .           Yes....         No·-··         Address ............................................................. Author of .................................. .
                                                                                                                                                   (State which: words, music, arrangement, etc.)
                                   . . _ (NOTE: Leave all spaces of line 4 blank unless your work has been PUBLISHED.) ~
                      4. I.al Date of Publication: Give the complete date when    date when copies were made or printed should not be con•
                      copies of this particular version of the musical composition                                                 fused with the date of publication. (NOTE: The full date
                      Were first placed on sale, sold, or publicly distributed. The                                                (month, day, and year) must be given.)
                      ,..                                                                  April                            30                         1969
                        - ··· · ·· · ·                                              •              (Month)                   (Day)                  (Year)
                            lb) Place of Publication: Give the name of the country in which this particular version of the musical composition was
                      fi rst published.

                      "··················- ······-······-······-·-·-··-·--· Canada ··- ····- ~-·-·····················-··-·········-··-··-·-·--·············
                                         ~        (NOTE: Leave all spaces of line !i blank unless the instructions below apply to your work.I                                                                      ~
                      6: :re~ious Registration or Publication: If a claim to copy•                                                 or if any substantial part of the wotk was previously published
                      ~~g . t JO any substantial pact of _chis work was previously                                                 anywhere, give requested information.
                        gistered in the U.S. Copyright Offi.cc in unpublished form,
                      Was work Previously registered?                  Yes .....         No .....        Date of registration ··------·· ···-··--·-·-                        Registration number ····----------·-·····
                      Wn, work previously published ?                  Yes _ __ No ___ Oare of publication                                 _ ___                             RegiJtrGtlon numbe r - - - -
                      !:aed·tcrn.ent
                            th ere an)' substantial
                                     of the nature of the
                                                              NEW MATTER in this version? Yes ...... No . ..... U your answer is "Yes," give a brief general
                                                                   NEW MATTER in this version. (New marcer may consist of musical arrangement, compilation,
                            UOtial revision, and the like, as well as additional words and music.)                                                                                                                      EXAMINER


        Page 2        ·······- · ·······                                Complete all applicable spaces on next page                                                                                                                    I
Case 6:24-cv-00649-JA-DCI Document 1-1 Filed 04/04/24 Page 5 of 7 PageID 14
6. If registration fee is to be charged to a deposit account established in the Copyright Office, give name of account:

7. Name and address of pe~so~ ~; organization to whom correspondence or refund, if any, should be sent:                                         ••

Name •.... Cirrus .Music···-···•·•············•·····•·······-··--·           Address ••••  :PJ.. J!~~~1:t9:1:l...~Y~~L.'-!'9.~~l}t~...~.,...~~~~a
8. Send certificate to:

(Type or
                                       Nimbus 9 Productions Limited
print     Name                                                                     ----·-------- ----------                                          C
                                                                                                                                                     t
name and                               131 Hazelton Avenue                                                                                           s
address) Address                                                                                                                                     I!
                                                                     (Num'bu •nd street)                                                             t
                                       Toronto            s, Ont., Canada
                                                                                                                                                     a
                                                 (City)                  (State)                                                                     f

9. Certification:
                                       I CERTlFY that the statements made by me in rhi application are correct to the
(Application                                     best of my knowledge.                                                                               p
not acceptable
unless signed)


                                                                                                                                                     A
                                                                 Application Forms
Copies of tbe following forms will b supplled by the Copyright Office without charge upon request.
Class A Form A-Published book manufactured in the United Scates of America.
           o.cm A-B Foreign-Book or periodical manufactured outside the United States of Amedca (except works subject to                             A
Class A        the ad interim provisions of the copyright law) .
  or B
            f.
           otm A-B Ad Interim-Book or periodical ln the English language manufactured and first _published outside the
               United Scates of America.
          Form B- PeriodkaJ manufactured in the United States of America.
Class B { Form BB- Coacributioo co a pe.dotlical ma.nu f acnue d ln the Unired Scates of America.
                                                                                                                                                     2



Class C Form ~Lceture or similar production prepared for oral delivery.                                                                              3
Class D Form D-Dramatic or dramatico-mUS:ical compos1t1on.                                                                                           g
          Form E-Musical composition rhe author of wblch i a citizen or dom:iciliary of the United States of America oc which                        a1

               was fi.rsr published io the United States of America.
Class E Form E Foreign- Musical composition the author of which is not a citizen or domiciliary of•the United States of
        {
               America and wbkh was not fust published in the United States of America.
Class F Focm F-Map.
Class G llorm G-Work of arc or a model or design for a work of an.
Class H Form H- Repcoduction of a work of act.
Class I Porm I- Drawing or plastic work of a scientific or technical character.
Class J Form J- Photograph.
          Form K- Prioc or pictorial illustration. •
Class K {Form KK-Print or label used for an article of merchandise.
Dass
or ML {Form L- M- M ot1on
                      • picture.
                          •
       Form R-Renewal copyright.
       Form U-Notice of use of copyrighted music on mechanical instruments.

                                                              FOR COPYRIGHT OFFICE USE ONLY

  Application received

            )
              l '
                 '/                        *+-                 * ( (' f:' 1·· ,,.' • ) : 1 r: not.i ,:'.(~: "CJ rrvs   J,'hJ~, i c, Ire."
  '                                                                V ·~·
  One copy received

                                                              **(Cert. ) : r,.Jr Jr
                                                                                 • 1• Dn ]..
                                                                                             nr1r1 .              re(~ I ·.,rl   Oct.:?, 1 ct:, c
  Two copies received
      OCT             2 1969
  ,.,.oh log (:J\ rri rAcelVAti
      !(j:(~ f        2 19681              .,
  Fee received




 fut ¢\ <r \-r \")'\1 '
       ewa l            1         )   \~



           U.S, GOVERNMENT PRINTING OFFICE, 1968-0-322-065                                                                                Page 2
                    Case 6:24-cv-00649-JA-DCI Document 1-1 Filed 04/04/24 Page 6 of 7 PageID 15
                                                                                                                                                                                      FORM E FOREIGN
                        p~e 1                                                                                                                                                CLASS                 REGISTRATION NO .

                                    oration for Registration of a (ilaim to <topyright E                                                                                                        Efo13 8 2 6 4
                        ~p ·lfal composition the author of which is not a citizen or domiciliary of the United                                                                                   00
                                                                                                                                                                                                        NOT             E HERE
                        In • :~:~ of America and which was not first published in the United States of America                                                                                     EF              Fo      Eu
                            5
                                      s· Make sure tbnc all n1>plicable paces bave been                                                 togecber with cbe items speci6ed in ei ther Option A or B:
                        111str11ct11b~fore you submjc the ~orm. T he application m.usr                                                     D Optioti A: One copy of the musical composition a.ad a
                        ,0111ple:ED at Jioe 9, For published works th e applkatmn                                                       fee of $6. Make remi ttance payable co the Uegister of Copy-
                        be SIG t be subm itted until afler tbe date of publication                                                      rights.
                        sho11!0 °une 4 (11), nnd s_hould st~te the facts which existed on                                                  jg! Opti(J1>- B: Two copies of the musical com_posicion and a
                        aJvell 1~e. For furth er infot'ID.lltJOn. see page 4_.    .                                                     catalog c~ d. 1'h is optio11 is not ,wn~lahle fo r ~~i pnblirh etl
                        chPC da 1 a11d 2 should be typewrm e.n or printed with p~o                                                      wprks o,· ,f th e auth or or p,·oprieto·r ,.s a U.S. ctltze,i, domJ.
                           pn,se; pages 3 and 4 hould contain exactly the same in -                                                     ciliary, or 1·esident on the date application is filed. Option B
                        1nd in . •0 9 s pages 1 and 2, but muy be carbon copies.                                                        is available only if the copies, a properly comp leted applica-
                        (orimi,t•O 11 •pages of the application to the Register of Copy•                                                tion, and cacalog card ace .received in. che Copyrigbt Office
                         . M"1111librar.)' of Congres.s W ashington D.C. 205'10, U.S.A.,                                                within 6 m ouths of th u date of first fmblicaJi011,.
                         righlS,
                                    ri ht Claimant<sl and Address(esJ: Give the name(s) and address(es) of the copyright owner(s). In the case of




]
                         ~~~J!fhYel works the name(s) should ordinarily be the same as in the notice of copyright on the copies of the work deposited.
                                          Cirrus Music

                                          131 Hazelton Ave., Toronto 5, Ont., Canada
                         Add<~~ ................. .. . . ·-·· ..................... ••.•••........••••.........••.••••.••••.... •••••• •.... .... ·- -· ...... . .. -·. -....... - .. - .. ··-·. ····-· - · .. ... .


                         N•m~·······••••••• •····-····· ••• •• ····--···-···.                                 • •          •••                           -·····. •• ··-·······-··-··~·-·· ··- · ·····--···-· ·······- ···-·

works subjecr to

shed outside the
                         Address ....•••• ··· ···· ··············-· ···· ···--······· ····•-·•····· ···················-- ··-··············- - •-······ •••·--·- ·· ··-·····-··· ·· •• ••·-··--· •••• •

                                           NO TIME
                        2' Tltls, ··-··· ··-···· ••••• •• •• ••• ••······-·--·················· ··········•··········· •• •• ••••• ························-········ ·•· ·-· •••• •······-·--···· ·•· ·••·
                                                                                                                                                                                                                                  I
                                                                             (Give the title of the musical composition as it appears on the copies)



                         3 Authors: Citizenship and domicile information must be                                                       words, arrangers, compilers, etc. If the copy.11ight claim is
                         ~yen. Where a work was made for hire 1he employer is the                                                      based oo new matter (see Ulle 5) , give inforo;ia tion about tbe

                                                                                                                    ~~~~~~s-.~~-
                               10
l.merica or whi~b
                        : : ~•... : : : : l~:u: : : : ers . ~~c, ..                                                                    author of .th e new. matter.                 itizcn~hip    - .~§n~5'.~an .......... -.
United St~Jeij of                                     (G ivc lega l name follow~d hy pseudonym if ia m,r npp a.cs on 1.he copies)                                                                        (Nnmc of coun,,ry)

                         btnnkiled in U.S.A.             Yes ....             No _x _ Add,;c.s,; ..... l~~ .. S.c..o.t.ia .. St............................. Author of .... . wor.d.s/music.. .....


                         N•me -•-.~~!;i9n ..Qmin.gs..... ~-· ··-···~~~~~~..                                 ............
                                        (Give legal name fo tlo"!l·i,y pseudonym if latter appears on the copies)
                                                                                                                                    ~.~···~~~~                          :~~~~~   w~:;~~n=~:d:~.;:a•; ;•::m•~::.~:~:~.
                                                                                                                                                                                             (Name of country)

                         Domiciled in U.S.A. Yes .... No .~.. Address ..... ~/.~ .... ~~·~···~~~~~~. . .~.~.!........ . ........ Author of ...~~;"~tl?/~.~~~~········
                                                                                                                           Winnipeg 4, Canada (State which: words, music, arrangement, etc.)
                        1
                         Nmm~ ··--··--·-. ·-·-· _ . . _ ·- --· ...... ..... .. ........................ . ............... . - · -·-·· .... .... ·-·. -· .. . Citizenship
                                                      (Give legal name foliowed by pseudonym if latter appears on the copies)                                                                            (Name of country)

                            Domiciled in U.S.A.          Yes-··-              No-···             Address ··············· · ···· ····--··· ··- ··· ······,···-· ········ · ···-- Author of ......................... ......... .
                                                                                                                                                                       (State which: words, music, arrangement, etc.)
                                        ~      (NOTE: Leave all space& of lhut 4 blank unless your work has been PUBLISHED.I ~
                        :· \al D1:1te of Publication: G ive the complete dnte when date when copies were made or printed should not be con-
                        ;pies of this particular version of the music.al com1,osition fused with the date of publication. (NOTE: The full date
                          Ille 6rst placed on Sa.le, sold, or publicl)( distributed. T he (month, day, and year) must be given.)
                         ······•· ... - .... _.._.. _. ___ ··---··---·-                        SePtembe.r: ....._ . __.30._ .. _........ l969 ·-·--··-········--····-·······--················--····-·
                              lb                                                                             (Month)               (Day)               (Year)
                         fir.. l bPl.ace of Publication : Give the name of the country in which this particular version of the musical composition was
                             ·• Pu hsbed.

                         I p         ~ INOTE: Leave all spaces of line 5 blank unless the instructions below apply to your work.) .,.._
                         rish:e~lous Reg-lriration or Publication: If a claim to copy· or if any substantial part of the work was previously published
                         fCJistc~n /!'.IY substantial part of this work was previously anywhere, give requested information.
                         W        e Ul th e U.S. Copyrig ht Office in unpublished form,
                             ~1 Work      •
                         '«'         Prevmusly registered? Yes ___ No - · - - Date of registration -·- -· · - - - - - - Registration number -·-···-·-········-·-·
                         ,Is~•thWork P<eviou sly published.
                                                      •   , Yes _____ No ··- -- Date of pubhcat,on
                                                                                            · ·                              •     • number - - - -- - - •
                                                                                                   -----···-······-·---·- Reg,strauon
                          lfate:ee/ny ~ubstanlial "EW MATTER in this version? Yes ...... No . ..... If your answer is "Yes," give a brief ~eneral
                          ~ittlr{al t of_ ~c nature of the NEW MAffER in this version. (New matter may consist of musical arrangement, compilation,
                                     revision, and the like, as well as additional words and music.)                                                EXAM IN ER

                                                                                                      -       -
                                                                                        .. ---·· -.-· -- ---- .- --· ··-· --- .- -----·------ .. -...... - --------- ..... -- - -- ---- . ....... -.-- -- ·-· --
                                     . ...... . .. ...__ ... ----- .... . . . -.. ------- -- ......
                                                                                 Complete all applicable spaces on next page                                                                                            ~ap I
        Case 6:24-cv-00649-JA-DCI Document 1-1 Filed 04/04/24 Page 7 of 7 PageID 16

      ' 6. If registration fee I• to be charged to a deposit account established In the Copyright Office, give name of ac:c:o.,
                                                                                                                                                                         II♦:

      7. ,. Name and ~ddre11 of p~~;~~-;;;·;;;;-a;,;i~~tion to whom correspondence or refund, If any, 1hould be sent:                                    -------------
                   • • cirrus :M usic                                                   Address ---~~~ __ _l:f_':':~~~~~~--~~~~-!___       :.~E~_l'.1:~-~--?..t .. ~t.
      Name ··-·----·-------------·-·--·-·----•-------------·----·-----·--·-·-··----·
      8. Send certificate to:                                                                                                                              eanacia:-·
      (Type or
I I
      print     Name                 Nimbus 9 Produ ctions Li.mitad ,. _____________ _____ _
      name and
      address) Address               131 Hazelton Ave.
                                                                             <Numb-e~-;~d street)
                                     Toronto 5, Ont. Canada
                                                   (City)                         (State)

      9, Certification:
                                         I CERTIFY that the statements made by me in this application are correct to the
      (Application                                 best of my knowledge.
      not acceptable
      unless signed)
                                                                               ~ I\J,       -    ,\,\,&_q_.y__ ~        ---- · -·· • ·-···-
                                                                      <Signntu.re or cop    111111 cln im nnt or dul): nuthor ,cd agent)

                                                                        Application Forms
      Copies of the following forms will be suppUed by the Copyright Office wlthout chnrge upon request.
      Class A Form A-Published book manufactured in the United States of Amer-ica.
                Form A- B Foreign- Book or periodical manufac.rUJ'ed outside the United States of America (except works subject to
      Class A         the ad interim provisions of the copyriiht law).
        or B Form A-8 Ad Interim-Book or periodical in the English language manufactured and fi.rst _published outside the
              (
                     United States of America.                                                                                                                                  2
                Form B-Periodical manufactured in tl1c United States of America.
      Class B {Form BB-Contdbution co a periodicaJ manufaccuted in chc United States of America.
      Class C Form C-Lecrurc or similar production prepared for oi:al delivery.
      Class D Form D- Drnmatic or dramatico-musical compositfon.
                Foxm E- Musical co.mposition the -author of whichls II citizen or domiciliary of the United States of America or wWch
                     was first published in the United States of America.
      Class E Form E Po.reign- Musical composltion the autboi- of which is not a citizen or domiciliary of the Unired States of
              (
                     America and which was not fuse published in the United States of .America.
      Class F Form F- Map.
      Class G Poem G-Wo.rk of art or a model or design for a 'Yo.ck of a.rt
      Class H Form H-Reproduction of a work of art.
      Class I Form I- Drawing or plastic work of a scientific or cechtiical character.
      Class J _ For111 }- Photograph.
                 orm· K-Prlnc or piccodal illustration:
      Class K    otm K.K-Print or label used for an article oi mercbandJse.
      Class L
       or M
                f:
                 orm
                        L-M M .
                            -
                                        .
                                 ouon _picture.
                Form R-Renewal copyright.
                Form U-Notice of use of copy.righted music on mechanical instruments.

                                                                   FOR COPYRIGHT OFFICE USE ONLY

        Application received
         NOV 1/ 19 li 9
        One copy received



        Two copies received

         NUV 1 2 19 69
        Catalog card received

                            q
        Fee received




               U.S. GOVERNMENT PRINTING OFFICE, 1968--0-322-065
                                                                                                                                                              Page 1
